Case 2:23-cv-06302-HDV-AJR   Document 30-17   Filed 10/24/24   Page 1 of 3 Page
                                  ID #:518




         EXHIBIT E-8
        Case 2:23-cv-06302-HDV-AJR                             Document 30-17                   Filed 10/24/24              Page 2 of 3 Page
                                                                    ID #:519



Eee        a   Se                           reel                                                                                                           aE:


From:                       Powers, Andrew <
Sent:                       Friday, September 6, 2019 7:57 AM
To:                         Snookal, Mark
Cc:                        Tse, Thalia; Ruppert, Austin
Subject:                    RE: Rescinded Job Offer in Nigeria


Mark,

Thanks for your email and | hear your concerns.

lve reached out to the Medical Department and while I’m not privy to any medical information, | understand a thorough
review was conducted and alternatives were explored. We would respectfully disagree that the determination was
based on stereotyping or impermissible discrimination.

In terms of next steps, we will ensure you have a position in El Segundo. However, the PDC is also exploring alternative
expat and domestic assignments and we should have more information on that soon.

Regards,

Andrew Powers
HR Manager, El Segundo Refinery



This message may contain confidential information and is intended only for the use of the parties to whom it is addressed. If you are not an intended
recipient, you are hereby notified that any disclosure, copying, distribution, or use of any information in this message is strictly prohibited. If you have
received this message by error, please notify me immediately at the telephone number listed above.




From: Snookal, Mark <
Sent: Wednesday, September 4, 2019 7:21 AM
To: Powers, Andrew C <
Cc: Tse, Thalia <                       ; Ruppert, Austin <
Subject: Rescinded Job Offer in Nigeria

Andrew,

| am very disappointed in the decision by Chevron Medical to classify me as “unfit” for the Reliability Engineering
Manager position at EGTL. | believe this decision was made based on a lack of understanding and stereotypical
assumptions about my medical condition and is, therefore, discriminatory in nature. As my condition does not affect my
ability to perform the job duties of that position, | require no ongoing care outside of annual monitoring, working in a
remote location does not affect my condition, a complication from my condition would cause no harm to others, and |
have no work restrictions from my physician this decision seems excessively paternalistic.

After the initial finding of “unfit,” | appealed the decision, and Chevron Medical requested permission to contact the
specialist who cares for me, and | agreed. That specialist sent an email to Chevron Medical, stating that my condition is
stable and has been for three years and that the risk is “low.” That same physician had earlier provided me with a letter
stating that “it is safe for him [me] to work in Nigeria...His [my] condition is under good control, and no special treatment




                                                                     EXHIBIT E-8-1
     Case 2:23-cv-06302-HDV-AJR                 Document 30-17           Filed 10/24/24        Page 3 of 3 Page
                                                     ID #:520

is needed.” Which | provided to Chevron Medical before they made their initial determination of “unfit.” Additionally, |
passed all aspects of the regular examination, and the issue arises purely from a question about medical history.

Aside from my complaint of medical discrimination, where does their decision leave me? | spoke with the manager |
would have reported to in Nigeria this morning, and they are rescinding the offer, but my position in El Segundo has
already been filled.



Mark Snookal
IEA Reliability Team Lead

Chevron   Products   Company
El Segundo Refinery
324 W. El Segundo Blvd.
El Segundo,   CA 90245
Tel
Mobile




                                                    EXHIBIT E-8-2
